          Case:3:20-cv-08312-MMC
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                      UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                        SEP 13 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
NATIONAL LIFELINE ASSOCIATION,                   No.   21-15969

                  Plaintiff-Appellee,            D.C. No. 3:20-cv-08312-MMC
                                                 Northern District of California,
 v.                                              San Francisco

MARYBEL BATJER, in her official              ORDER
capacity as a commissioner of the California
Public Utilities Commission; LIANE
RANDOLPH, in her official capacity as a
commissioner of the California Public
Utilities Commission; CLIFFORD
RECHTSCHAFFEN, in his official capacity
as a commissioner of the California Public
Utilities Commission; MARTHA GUZMAN
ACEVES, in her official capacity as a
commissioner of the California Public
Utilities Commission; GENEVIEVE
SHIROMA, in her official capacity as a
commissioner of the California Public
Utilities Commission,

                  Defendants-Appellants.

Before: MURGUIA, Chief Judge, BUMATAY, Circuit Judge, and BAKER,*
International Trade Judge.

      The parties are directed to file supplemental briefs responding to the amicus

brief filed by the Federal Communications Commisssion on August 29, 2022 (Doc.



      *
            The Honorable M. Miller Baker, International Trade Judge for the
United States Court of International Trade, sitting by designation.
        Case:3:20-cv-08312-MMC
        Case  21-15969, 09/13/2022, ID: 12539642,
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50). The parties’ supplemental briefs shall be no more than 15 pages or 4,200

words and shall be filed within 15 days of the entry of this order.




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